         IN THE UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

MAXWELL KADEL, et al.,

                    Plaintiffs,

            v.
                                             No. 1:19-cv-272-LCB
THE NORTH CAROLINA STATE
HEALTH PLAN FOR TEACHERS AND
STATE EMPLOYEES, et al.,

                    Defendants.


             STATE HEALTH PLAN’S SUPPLEMENTAL BRIEF
                 ON AFFORDABLE CARE ACT CLAIMS

                                  INTRODUCTION

     The North Carolina State Health Plan for Teachers and State

Employees (“the Plan”) respectfully contends that there is no reason to

delay ruling on its motion for summary judgment regarding Plaintiffs’

§ 1557 claims. Docs. 136–37. As a matter of law, any new rule by the

Department of Health and Human Services (“HHS”) can be prospective

only. No future rulemaking can create liability where, as here, none

currently exists.




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 1 of 19
     In its Memorandum Opinion and Order of June 10, 2022, Doc. 234,

corrected August 10, 2022, Doc. 260–61, this Court explained that it

would “reserve a ruling on claims alleged under the ACA.” Id. at 2, 72. At

the status conference on June 17, 2022, the Plan objected to the Court’s

reservation of its ruling regarding § 1557 and the continuance of the trial

(if necessary) until December 2022. Doc. 259 at 5,10. The Plan was

expressly concerned that “continuing [the] trial until there is a final rule

will have the effect of causing an indefinite stay of these issues.” Id.

     Plaintiffs are not entitled to any relief under § 1557 because that

statute does not unambiguously provide both that (1) the Plan is a

“health program or activity” and (2) that the Plan “subjected [Plaintiffs]

to discrimination” on a “ground prohibited” through its implementation

of the single challenged exclusion. To find the Plan liable, this Court

must conclude that § 1557 is unambiguous as to both issues.

     Regardless of this Court’s ruling, however, the current HHS

rulemaking is of no consequence. If § 1557 is unambiguous, then the

newly proposed HHS rule is irrelevant. If, on the other hand, § 1557 is

ambiguous, then this Court must grant the Plan’s motion for summary

judgment because (1) the 2016 rule was enjoined and never went into




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 2 of 19
effect and (2) the current rule—in effect from August 18, 2020 to the

present—precludes liability. Either way, the new rule—whenever it is

finally promulgated—will not be retroactive and thus cannot affect

Plaintiffs’ potential recovery.

       Finally, this Court should grant summary judgment to the Plan and

dismiss Plaintiffs’ Affordable Care Act claims because Plaintiffs are not

entitled to any relief beyond what has already been obtained through

these proceedings.

                                  ARGUMENT

 I.    Legal Standard

       Section 1557 of the Affordable Care Act, 18 U.S.C. § 18116,

provides that:

       [1] an individual shall not, [2] on the ground prohibited under
       title VI of the Civil Rights Act of 1964, title IX of the
       Education Amendments of 1972, the Age Discrimination Act
       of 1975, or section 794 of title 29, [3] be excluded from
       participation in, be denied the benefits of, or be subjected to
       discrimination under, [4] any health program or activity, any
       part of which is receiving Federal financial assistance.

       The Supreme Court recently held that under § 1557, a plaintiff can

only recover “the usual contract remedies in private suits” for breach of

contract, unless the text of the statute specifically provides otherwise.

Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct. 1562, 1571




      Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 3 of 19
(2022) (emphasis in original). Therefore, in this case, Plaintiffs can

potentially recover “compensatory damages” or an “injunction,” Barnes v.

Gorman, 536 U.S. 181, 187 (2002), but they cannot recover punitive

damages, id., or “emotional distress damages,” Cummings, 142 S. Ct.

at 1576. Nor can Plaintiffs recover attorneys’ fees under § 1557, because

such a remedy is not “traditionally available in suits for breach of

contract.” See id.; Barnes, 536 U.S. at 187.

     For an entity receiving federal funds to be liable under the

Affordable Care Act, it must have had notice of the potential liability in

the first instance: “if Congress intends to impose a condition on the grant

of federal moneys, it must do so unambiguously.” Cummings, 142 S. Ct.

at 1570. To prove liability, then, Plaintiffs must show that § 1557

“unambiguously” entitles them to their requested damages from the Plan

under the circumstances they allege.

     The Secretary of Health and Human Services has authority to

“promulgate regulations to implement” the provisions of § 1557. See

18 U.S.C. § 18116(c). This grant of rulemaking authority permits HHS to

issue regulations that are entitled to deference under the familiar

Chevron test. Chevron v. Nat. Res. Def. Council, 467 U.S 837 (1984).




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 4 of 19
Under Chevron step one, this court must determine whether Congress

“has directly spoken to the precise question at issue” or whether the

statutory term is instead ambiguous. Othi v. Holder, 734 F.3d 259,

265 n.4 (4th Cir. 2013). When a statutory phrase is ambiguous, Chevron

step two asks only whether the interpretation “is based on a permissible

construction of the statute.” Schafer v. Astrue, 641 F.3d 49, 54 (4th

Cir. 2011).

     As such, even if § 1557 is ambiguous, a regulation that implements

the provision is only lawful if it is consistent with the underlying

legislation and otherwise reasonable. See, e.g., Guardians Ass’n v. Civ.

Serv. Comm’n of City of New York, 463 U.S. 582, 592 (1983) (opinion of

White, J.) (holding that Title VI’s prohibition against “discrimination” is

inherently ambiguous, “at least to the extent of permitting, if not

requiring,” regulations prohibiting disparate impact under federal

programs).




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 5 of 19
II.    Section 1557 does not unambiguously hold the Plan liable
       for the challenged coverage exclusion.

       Plaintiffs challenge a single coverage exclusion before this Court,

which limits payments for “[t]reatment or studies leading to or in

connection with sex changes or modifications and related care,” even if

medically necessary. Doc. 137 at 13-14(PLANDEF-120636). To prevail at

trial, Plaintiffs must prove first that the Plan unambiguously is a “health

program or activity,” and then that the Plan unambiguously “subjected

[them] to discrimination” on a “ground prohibited” by the listed statutes

through the challenged exclusion. Plaintiffs cannot rely upon the 2016

rulemaking by HHS, or the conclusions and evidence therein, to support

a claim for damages against the Plan under § 1557.

       In 2016, HHS stated that transition-related medical treatments

could no longer be considered “cosmetic or experimental;” refusal to cover

hormone treatment or surgery on such a basis was “recognized as

outdated     and    not    based    on    current   standards     of   care.”

81 Fed. Reg. 31376, 31429 (May 18, 2016). The final regulation included

specific provisions that prohibited “a categorical coverage exclusion or

limitation for all health services related to gender transition” for “health-




      Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 6 of 19
related insurance or other health-related coverage,” inter alia. 81 Fed.

Reg. 31471-72 (creating 45 C.F.R. § 92.207)

     While the 2016 HHS rule could be interpreted to impose a federal

grant condition upon the Plan, the rule’s interpretation was enjoined

nationwide before it went into effect. In Franciscan Alliance v. Burwell,

the Northern District of Texas held that the 2016 rule’s statutory

interpretation    was   unlawful.       Franciscan    All.,     Inc.   v.    Burwell,

227 F.Supp.3d 660, 685–89 (N.D. Tex. 2016). Thus, the HHS regulation

that prohibited discrimination on the basis of gender identity has always

been without legal effect. Id. at 696. In 2019, the same court vacated this

portion     of   the   2016   rule. 1    Franciscan     All.,     Inc.      v.   Azar,

414 F.Supp.3d 928, 944–45 (N.D. Tex. 2019). Vacatur of an unlawful

rulemaking “takes the unlawful agency action off the books” entirely.

Kiakombua v. Wolf, 498 F.Supp.3d 1, 50 (D.D.C. 2020) (J. Ketanji Brown

Jackson).


1    In August 2022, the Fifth Circuit dismissed an appeal of the lower
     court’s decision as moot because a 2020 HHS rulemaking
     eliminated the challenged regulatory provisions. However, the
     court explicitly left the vacatur in place. Franciscan All., Inc. v.
     Becerra, 47 F.4th 368, 375–76 (5th Cir. 2022). “Permitting
     important agency rules to flicker in and out of existence is
     detrimental to the rule of law.” Id. at 375.




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 7 of 19
     To the extent Plaintiffs claim that the Plan’s decision not to cover

certain treatments for gender dysphoria reflects discrimination “on the

basis of sex,” HHS has also expressly disavowed the factual analysis in

its 2016 rule. HHS’s revised 2020 rule examined this factual question,

received extensive comment, and concluded that after a “review of the

most recent evidence,” the 2016 statement “was an erroneous assertion.”

85 Fed. Reg. 37187 (June 19, 2020). The current Rule concludes that

“there is, at a minimum, a lack of scientific and medical consensus to

support this assertion,” and the “lack of scientific and medical

consensus—and the lack of high-quality scientific evidence supporting

such treatments—is borne out by other evidence.” Id.

     Accordingly,    Plaintiffs   cannot    demonstrate      that   § 1557

“unambiguously” imposes liability for the Plan’s coverage exclusion. “[A]

recipient may be held liable to third-party beneficiaries for intentional

conduct that violates the clear terms of the relevant statute, but not for

its failure to comply with vague language describing the objectives of the

statute.” Barnes, 536 U.S. at 187.




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 8 of 19
     The Plan’s exclusion cannot be held to “unambiguously” violate a

spending clause condition imposed by § 1557 when a federal court both

enjoined, and later vacated, that condition as inconsistent with law.

     A.    Since August 2020, HHS has concluded that the Plan is
     not a “health program or activity” under § 1557, so the Plan
     is not liable under § 1557 for coverage decisions after that
     date.

     When Plaintiffs brought this suit in 2019, HHS interpreted the

term “health program or activity” in §1557 to include third-party health

care payors, such as the Plan. Nondiscrimination in Health Programs

and Activities, 81 Fed. Reg. 31376, 31467 (May 18, 2016) (promulgating

45 C.F.R. § 92.4). HHS’s definition, at that time, extended to all

operations of an entity “principally engaged” in “the provision or

administration of . . . health-related coverage.” 81 Fed. Reg. 31467.

     HHS revised its rules, effective August 18, 2020, and re-defined

“health program or activity” to specifically exclude entities such as the

Plan. Nondiscrimination in Health and Health Education Programs or

Activities, Delegation of Authority, 85 Fed. Reg. 37160 (June 19, 2020).

The phrase “health care program or activity” currently includes only

those entities “engaged in the business of providing healthcare” and,

further, “an entity principally or otherwise engaged in the business of




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 9 of 19
providing health insurance shall not, by virtue of such provision, be

considered to be principally engaged in the business of providing

healthcare.” 45 C.F.R. § 92.3(b), (c) (2021) (emphasis added).

     While the 2020 rule has been challenged in five federal district

courts, and other provisions of that rule have been enjoined, this

dispositive provision remains in effect. Of the district courts considering

the 2020 rule, three have concluded that the plaintiffs lacked standing to

challenge this portion of the regulation. Whitman-Walker Clinic v. U.S.

Dep’t of Health & Hum. Servs., 485 F.Supp.3d 1, 31–33 (D.D.C. 2020);

Walker v. Azar, 2020 WL 6363970 at *3 (E.D.N.Y. Oct. 29, 2020); Wash.

V. U.S. Dep’t of Health & Hum. Servs., 482 F.Supp.3d 1104, 1121 (W.D.

Wash. 2020).

     Two district courts have allowed a challenge against this portion of

the rule to the provision to proceed, but neither court issued an

injunction, and both cases are currently stayed. Boston All. Of Gay,

Lesbian, Bisexual & Transgender Youth v. U.S. Dep’t of Health & Hum.

Servs., 2021 WL 3667760 at *9 (D. Mass. Aug. 18, 2021); Boston Alliance

v. HHS, No. 20-11297-PBS (Oct. 29, 2021) (denying motion to remand but




   Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 10 of 19
staying further proceedings). See also New York v. U.S. Dep’t of Health &

Hum. Servs., No. 1:20-cv-05583 (Doc. 145) (Aug. 23, 2021).

     B.    The current HHS rule is entitled to Chevron deference.

     The interpretation in the current HHS rule is entitled to deference

under the familiar Chevron test. Chevron v. Nat. Res. Def. Council,

467 U.S. 837 (1984). Under Chevron step one, this court must determine

whether Congress “has directly spoken to the precise question at issue”

or whether, instead, the statutory term is ambiguous. Othi v. Holder,

734 F.3d 259, 265 n.4 (4th Cir. 2013). When a statutory phrase is

ambiguous, Chevron step two asks only whether the interpretation “is

based on a permissible construction of the statute.” Schafer v. Astrue,

641 F.3d 49, 54 (4th Cir. 2011).

     Section 1557 does not define “health program or activity,” and two

district courts in the Fourth Circuit have reached differing conclusions

on the ambiguity of this term. Compare Callum v. CVS Health Corp.,

137 F.Supp.3d 817, 849–50 (D.S.C. 2015) (ambiguous) with Fain v.

Crouch, 2021 WL 2657274, at *2-4 (S.D. W. Va. June 28, 2021)

(unambiguous). This disagreement alone demonstrates the term’s

ambiguity. Moreover, courts considering other civil rights statutes defer




   Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 11 of 19
to agency interpretations that define the term “program or activity.” See

Victim Rts. L. Ctr. v. Cardona, 2021 WL 3185743 at *12 (D. Mass.

July 28, 2021) (agency has authority to interpret “education program or

activity” under Title IX); Nat’l Collegiate Athletic Ass’n v. Smith,

525 U.S. 459, 467–68 (1999) (citing regulations defining scope of Title

IX). 2

         Noting the complexity of the health insurance market, and

recognizing      the   agency’s distinction elsewhere      between    “health

insurance” and “healthcare,” HHS expressly concluded that entities like

the Plan are not subject to § 1557 liability. 85 Fed. Reg. 37172-74. Under

Chevron, “considerable weight should be accorded to an executive

department’s construction of a statutory scheme it is entrusted to

administer.” Id. at 844.


2        A court cannot find the same statutory term ambiguous in one case
         and not another. If this Court concludes “health program or
         activity” is unambiguous, it also necessarily concludes that HHS
         can never interpret that phrase, and that the agency was wrong to
         do so in both 2016 and 2020. Moreover, any future rulemaking on
         the subject would be invalid. Agency regulations can limit the reach
         of a statute, as here, but they can also expand the statutory scheme.
         Currie v. Grp. Ins. Comm’n, 290 F.3d 1, 6–7 (1st Cir. 2002)
         (Department of Justice rule extending Title II of the ADA to include
         employment within the scope of “public services, programs,
         activities”).




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 12 of 19
     Accordingly, Plaintiffs cannot seek damages from the Plan for any

alleged violations of § 1557 occurring after August 18, 2020, because they

cannot prove that the statute “unambiguously” applies to the Plan’s

coverage decisions. This means that no Plaintiff is entitled to any

damages for any denial of coverage occurring after August 18, 2020.

     C.   The proposed rulemaking issued by HHS in August
     2022 is irrelevant to the disposition of Plaintiffs’ claims by
     this Court.

     On August 4, 2022, HHS proposed a new rulemaking to replace its

2020 rule. Nondiscrimination in Health Programs and Activities, 87 Fed.

Reg. 47824 (Aug. 4. 2022). Thus, it is clear that HHS—now for the third

time—has indicated its position that the phrase “health program or

activity” is ambiguous. If formally promulgated, that rule would reverse

the 2020 rule’s interpretation that the Plan is not a “health program or

activity” under § 1557. Id. at 47868.

     Critically, proposed rules “are suggestions made for comment; they

modify nothing.” LeCroy Research Sys. Corp. v. Commissioner,

751 F.2d 123, 127 (2d Cir. 1984). A proposed regulation “does not

represent an agency's considered interpretation of its statute,” and the

“agency is entitled to consider alternative interpretations before settling




   Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 13 of 19
on the view it considers most sound.” Commodity Futures Trading

Comm'n v. Schor, 478 U.S. 833, 845 (1986). Accordingly, HHS’s pending

proposal has no legal effect. Formal promulgation is unlikely to occur

within the next twelve months, and there is no reason to think the new

rule will not be challenged and potentially enjoined as was the 2016 rule.

     Further, the proposed rule cannot affect Plaintiffs’ current claims

for damages. “Well-settled law establishes that administrative rules do

not apply retroactively unless Congress has explicitly authorized the

agency to enact retroactive rules and the new rule in question expressly

states its retroactive effect.” Bagliere v. Colvin, 2017 WL 318834 at *4

(M.D.N.C. Jan. 23, 2017) (Auld, J.).

     Nothing in Congress’s grant of authority under § 1557 explicitly

refers to retroactive rulemaking, stating only that the Secretary “may

promulgate regulations to implement this section.” 18 U.S.C. § 18116(c).

This is far short of the “express statutory grant” required to establish the

agency has such power from Congress. Bowen v. Georgetown Univ. Hosp.,

488 U.S. 204, 209 (1988); Leland v. Fed. Ins. Adm’r, 934 F.2d 524, 528–

29 (4th Cir. 1991). Nor is there any claim to the contrary in the current

proposed rulemaking.




   Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 14 of 19
III.    Plaintiffs’ § 1557 claims should be dismissed entirely.

        Should the Court conclude a trial is necessary, Plaintiffs have not

provided sufficient evidence of damages on their § 1557 claims. During

discovery, the Plan specifically asked Plaintiffs to identify their out-of-

pocket costs, and they declined to do so:

        18. Please identify with particularity and describe by type
        and amount the damages that Plaintiffs claim to have
        sustained as a result of the alleged acts and omissions of the
        Defendants.

        Response and Objections: Plaintiffs incorporate by reference
        each of the General Objections listed above. Subject to and
        without waiving their objections, Plaintiffs seek to recover
        out-of-pocket expenses and, pursuant to Federal Rule of Civil
        Procedure 33(d), will produce documents sufficient to identify
        the amount of those damages. Plaintiffs also seek to recover
        standard, garden variety emotional distress damages in an
        amount to be determined at trial.

Plaintiffs’ First Supp. Obj & Resp. to SHP First Set of Interrogatories at

13 (May 5, 2021). In their motion for summary judgment, Plaintiffs

alleged “financial harm,” Doc. 75 at 42, 44–45, but they presented neither

calculations nor medical bills

        Currently, all Plaintiffs—except Plaintiff Caraway—have settled

their claims against their employers. Doc. 110 at 2 (noting Plaintiffs and

University Defendants reached a negotiated settlement of claims); Doc.

112 (Order dismissing claims against University Defendants). To the




       Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 15 of 19
extent Plaintiffs have suffered “compensatory damages,” they are not

entitled to double recovery under Title IX and § 1557. Before this Court

decides the difficult and intricate legal questions regarding the

interpretation of § 1557, each Plaintiff should be required to identify,

with admissible evidence previously identified and produced in discovery,

the compensatory damages they seek against the Plan. To the minimal

extent Plaintiff Caraway has produced admissible evidence of procedures

she obtained after January 1, 2018, the Plan is unable to identify a single

bill for a procedure that was denied but which would have been approved

in 2017. And critically, because the other Plaintiffs have settled with the

University Defendants, they have already received a full recovery—based

on the evidence they have produced during discovery. There is no reason

to have a trial, nor prolong this litigation, when Plaintiffs can obtain no

further relief.

                               CONCLUSION

      This Court should grant the Plan’s motion for summary judgment,

Docs. 136–37, and dismiss Plaintiffs’ Affordable Care Act Claims.




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 16 of 19
     Respectfully submitted this the 7th day of November, 2022.



/s/ John G. Knepper                /s/ Kevin G. Williams
Wyo. Bar. No. 7-4608               N.C. Bar No. 25760
LAW OFFICE OF JOHN G. KNEPPER, LLC
1720 Carey Ave. Suite 590          /s/ Mark A. Jones
Cheyenne, WY 82001                 N.C. Bar No. 36215
Telephone: (307) 632-2842          BELL, DAVIS & PITT, P.A.
Facsimile: (307) 432-0310          100 N. Cherry St. Suite 600
john@knepperllc.com                Winston-Salem, NC 27101
                                   Telephone: (336) 722-3700
                                   Facsimile: (336) 722-8153
                                   kwilliams@belldavispitt.com
                                   mjones@belldavispitt.com




   Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 17 of 19
                      CERTIFICATE OF WORD COUNT

      Pursuant to L.R. 7.3(d)(1), the undersigned certifies that this

Supplemental Brief complies with the Court’s word limit as calculated

using the word count feature of the word processing software. This count

includes the body of the brief and headings, but does not include the

caption, signature lines, this certificate, or the certificate of service.

      This the 7th day of November, 2022.



/s/ John G. Knepper                /s/ Kevin G. Williams
Wyo. Bar. No. 7-4608               N.C. Bar No. 25760
LAW OFFICE OF JOHN G. KNEPPER, LLC
1720 Carey Ave. Suite 590          /s/ Mark A. Jones
Cheyenne, WY 82001                 N.C. Bar No. 36215
Telephone: (307) 632-2842          BELL, DAVIS & PITT, P.A.
Facsimile: (307) 432-0310          100 N. Cherry St. Suite 600
john@knepperllc.com                Winston-Salem, NC 27101
                                   Telephone: (336) 722-3700
                                   Facsimile: (336) 722-8153
                                   kwilliams@belldavispitt.com
                                   mjones@belldavispitt.com




    Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 18 of 19
                        CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will provide

electronic notification to all counsel of record in this matter.

     This the 7th day of November, 2022.



/s/ John G. Knepper                /s/ Kevin G. Williams
Wyo. Bar. No. 7-4608               N.C. Bar No. 25760
LAW OFFICE OF JOHN G. KNEPPER, LLC
1720 Carey Ave. Suite 590          /s/ Mark A. Jones
Cheyenne, WY 82001                 N.C. Bar No. 36215
Telephone: (307) 632-2842          BELL, DAVIS & PITT, P.A.
Facsimile: (307) 432-0310          100 N. Cherry St. Suite 600
john@knepperllc.com                Winston-Salem, NC 27101
                                   Telephone: (336) 722-3700
                                   Facsimile: (336) 722-8153
                                   kwilliams@belldavispitt.com
                                   mjones@belldavispitt.com




   Case 1:19-cv-00272-LCB-LPA Document 271 Filed 11/07/22 Page 19 of 19
